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                                                           October 20, 2020
Hon. Laura Taylor Swain
United States District Judge
United States District Court
Southern District of New York
                                                                   MEMO ENDORSED
500 Pearl Street
New York, New York 10007

                                                   RE:     United States v. Andrei Tyurin
                                                           15-Cr-333

Dear Judge Swain:

        Mr. Tyurin’s sentencing is currently scheduled for November 5, 2020. With the
consent of the government, I respectfully request an adjournment of sentencing of two weeks.
The logistical difficulties presented by the COVID-19 crisis have delayed my ability to
effectively communicate with my client around issues related to sentencing, such as giving him
adequate time to review any sentencing submissions to be filed on his behalf. I also await
additional materials from his family in Russia that may be relevant to sentencing.

        Accordingly, I respectfully request an adjournment of sentencing to November 19,
2020.

         Thank you for your consideration.


                                                           Sincerely,

                                                                    /s/

                                                           Florian Miedel
                                                           Counsel for Andrei Tyurin

AUSA Eun Young Choi (email)
  The sentencing is adjourned to November 17, 2020, at 9:00 a.m. and the related deadlines are modified accordingly, except
  that counsel for Mr. Tyurin may submit his sentencing submission on or before November 5, 2020. The Court will seek to
  arrange a video sentencing, at defendant’s request, unless counsel promptly informs Chambers that Mr. Tyurin wishes to
  proceed in person. The precise date, time and modality of the proceeding cannot be confirmed until early November; counsel
  are requested to keep their calendars clear for the entire morning of November 17, 2020, until further notice. DE# 135
  resolved.
  SO ORDERED.
  /s/ Laura Taylor Swain, USDJ 10/20/2020
